Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 1 of 11




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Case No. 1:24-cv-00042-CNS-SBP

   MONICA REYES ANCHONDO,

          Plaintiff,

   v.

   LOWE’S HOME CENTERS, LLC,

          Defendant.


                                      SCHEDULING ORDER


                            1. DATE OF CONFERENCE
                 AND APPEARANCES OF COUNSEL AND PRO SE PARTIES
          The Scheduling/Planning Conference pursuant to Fed. R. Civ. P. 16(b) was held on April

   1, 2024, at 11:00 a.m. in Courtroom C-205, Byron G. Rogers U.S. Courthouse, 1929 Stout Street,

   Denver Colorado 80294 before United States District Magistrate Judge Susan Prose. Counsel for

   the parties appeared as follows:

           Attorneys for Plaintiff:
           Daniel Vedra
           VEDRA LAW LLC
           1444 Blake Street
           Denver, CO 80202
           dan@vedralaw.com

           Anna N. Martinez
           Martinez Law Colorado, LLC
           2373 Central Park Blvd #100
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 2 of 11




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           Elizabeth S. Olson
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                                2. STATEMENT OF JURISDICTION

          This Court has jurisdiction pursuant to 28 U.S.C. §§1332(a), 1441, and 1446. Plaintiff and

   Defendant in this civil action are citizens of different states and the amount in controversy exceeds

   the sum of $75,000, exclusive of interest and costs. Defendant timely removed this case from state

   court under 28 U.S.C. § 1441.

                          3. STATEMENT OF CLAIMS AND DEFENSES

      a. Plaintiff:

          The Plaintiff claims injuries, losses, and damages arising from personal injuries when a

   Lowe’s employee dropped a large box with a heavy metal lamp post on her head, causing a head

   injury. The Plaintiff makes claims pursuant to the Premises Liability Act at Section 13-21-115,

   C.R.S., and alleges that the Defendant is the sole cause of the injuries, losses and damages.

      b. Defendant:

          Defendant disputes fault or liability in this matter. Defendant denies that it knew or should

   have known of a dangerous condition, or that it failed to exercise reasonable care with respect to

   any such condition. Defendant disputes causation for as well as the extent, nature, and severity of
                                                    2
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 3 of 11




   Plaintiff’s claimed injuries and damages. Defendant asserts that Plaintiff’s injuries and damages

   were proximately caused by the sole and/or contributory negligence of Plaintiff. Defendant

   incorporates its affirmative and other defenses in its Answer and Jury Demand as though fully set

   forth herein.



                                       4. UNDISPUTED FACTS

          The following facts are undisputed:

    1.     Plaintiff is a citizen of, and domiciled, in the state of Colorado.

                                5. COMPUTATION OF DAMAGES

   PLAINTIFF:

          Plaintiff seeks economic and noneconomic damages.

   A.     Economic damages for past medical expenses, itemized as follows:

   Colorado Concussion Clinic                            $3,382.00
   Colorado Concussion Clinic – Sarah Johnson OD         $945.00
   Touchstone Imaging                                    $3,350.00
   St. Anthony North                                     $20,578.53
   Sound Relief                                          $60.00
   US Anesthesia Partners of Colorado                    $652.47
   USACS                                                 $2,007.66
   Broomfield Family Practice                            TBD
   UCHealth                                              TBD
   TOTAL:                                                $30,975.66*

   *This amount will be supplemented if additional expenses are received


   B.     Adequate compensation for inconvenience, pain and suffering, loss of enjoyment of life,

   and mental anguish, as well as physical impairment to be determined at the time of trial.

   C.     Future medical costs pursuant to expert opinion.


                                                     3
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 4 of 11




   D.     Pre and post-judgment interest at the highest lawful rates.

   E.     Economic damages for lost earning capacity, pursuant to expert opinion.

   DEFENDANT:

          Defendant is not seeking any damages from Plaintiff at this time. However, Defendant

   reserves the right to seek costs and attorney fees recoverable under law.

                  6. REPORT OF PRECONFERENCE DISCOVERY AND MEETING
                                 UNDER FED. R. CIV. P. 26(f)

          a.         Date of Rule 26(f) meeting. February 8, 2024

          b.         Names of each participant and party he/she represented.

          Attorneys for Plaintiff, Daniel Vedra and Anna Martinez; and Attorney for Defendant,

   Elizabeth Olson.

          c.         Statement as to when Rule 26(a)(1) disclosures were made or will be made.

          Defendant made its Rule 26(a)(1) disclosures on February 22, 2024, and Plaintiff made

   hers on March 4, 2024.

          d.        Proposed changes, if any, in timing or requirement of disclosures under Fed. R. Civ.

   P. 26(a)(1).

          None.

          e.         Statement concerning any agreements to conduct informal discovery:



          There are no agreements to conduct informal discovery at this time.

          f.        Statement concerning any other agreements or procedures to reduce discovery and

   other litigation costs, including the use of a unified exhibit numbering system.

                                                     4
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 5 of 11




          There is currently no agreement to reduce discovery or other litigation costs. The parties

   do not anticipate that their claims and defenses are so complex that any other formal agreement is

   needed to reduce discovery or litigation costs. Should the documents or discovery become

   burdensome, the parties will discuss how to reduce discovery and other litigation costs. Documents

   produced by the parties shall be Bates numbered. The parties agree to use a unified numbering

   system.

          g.      Statement as to whether the parties anticipate that their claims or defenses will

   involve extensive electronically stored information, or that a substantial amount of disclosure or

   discovery will involve information or records maintained in electronic form.

          The Parties do not anticipate extensive electronically stored information will be necessary

   to their claims or defenses or that a substantial amount of discovery will involve electronically

   maintained records. The parties shall produce relevant ESI in the possession, custody, or control

   in an easily accessible format.

          h.      Statement summarizing the parties’ discussions regarding the possibilities for

   promptly settling or resolving the case.

          Prospects for settlement are largely dependent upon the results of discovery and expert

   input. However, the parties are open to settlement negotiations.

                                              7. CONSENT

          All parties have not consented to the exercise of jurisdiction of a magistrate judge.

                                     8. DISCOVERY LIMITATIONS

          a.      Modifications which any party proposes to the presumptive numbers of depositions

   or interrogatories contained in the Federal Rules.


                                                    5
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 6 of 11




           The parties agree to a limit of five lay witness depositions per party in addition to

   expert depositions (including non-retained experts). The parties also agree that each side

   shall be limited to the presumptive limit of 25 interrogatories, including discrete subparts.

   should apply.

           b.      Limitations which any party proposes on the length of depositions.

           The parties agree to the presumptive limit of one day of seven hours per deposition.

           c.      Limitations which any party proposes on the number of requests for production

   and/or requests for admission.

           The parties agree that each party shall be limited to 25 requests for production and

   25 requests for admission.

           d.      Deadline for service of Interrogatories, Requests for Production of Documents

   and/or Admissions:

           October 18, 2024.

           e.      All responses shall be served on or before the discovery cut-off date November 22,

   2024.

           f.      Other Planning or Discovery Orders

           None.

                                    9. CASE PLAN AND SCHEDULE

           a.      Deadline for Joinder of Parties and Amendment of Pleadings:

           May 20, 2024.

           b.      Deadline for Designation of Non-Parties at Fault:

           May 20, 2024.


                                                   6
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 7 of 11




         b.      Discovery Cut-off:

         November 22, 2024.

         c.      Dispositive Motion Deadline/Deadline for Motion Pursuant to Fed. R. Evid. 702:

         January 15, 2025.

         d.      Expert Witness Disclosures:

                 1.     The Parties shall identify anticipated fields of expert testimony, if any.

                 Plaintiff: Plaintiff anticipates endorsing her treating providers or retaining experts

         in the fields of neurology, neuropsychology, physical medicine & rehabilitation, radiology,

         medical billing, and disability/vocational rehabilitation. She also anticipates endorsing an

         economist.

                 Defendant: Depending on further discovery and disclosures, Defendant anticipates

         retaining experts to rebut Plaintiff’s experts. Defendant may also retain a medical expert to

         conduct a Rule 35 examination or records review. Defendant may also designate certain

         of Plaintiff’s treating providers as non-retained experts. Defendant reserves the right to

         designate experts in additional areas as further discovery dictates.

                 2.     Limitations which the parties propose on the use or number of expert

         witnesses. The parties agree that no more than one expert per field of expertise will

         be designated to testify. 3 retained experts per side.

                 3.     Plaintiff shall designate all experts and provide opposing counsel and any

         pro se parties all information specified in Fed.R.Civ.P. 26(a)(2) on or before: August 9,

         2024.




                                                   7
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 8 of 11




                          4.        Defendant shall designate all experts and provide opposing counsel

                   and any pro se parties all information specified in Fed.R.Civ.P. 26(a)(2) on or

                   before: September 20, 2024.

                          5.        The parties shall designate all rebuttal experts and provide opposing

                   counsel and any pro se parties all information specified in Fed.R.Civ.P. 26(a)(2) on

                   or before: October 11, 2024.

                          6.        The parties shall disclose expert files within fourteen (14) days of

                   disclosure of the expert’s report.

         e.        Identification of Persons to Be Deposed:

   PLAINTIFF:

                                                                                    Expected Length of
                 Name of Deponent                Date and Time of Deposition
                                                                                       Deposition
     30(b)(6) of Defendant                       TBD                              TBD

     Employee(s) at scene of incident            TBD                              TBD
     Management or supervisor on duty the
                                          TBD                                     TBD
     day of incident
     Defense Experts                             TBD                              TBD




   DEFENDANT:

                                                                                Expected Length of
           Name of Deponent               Date and Time of Deposition
                                                                                   Deposition
     Plaintiff                           To be determined.                 To be determined.
     Plaintiff’s treating medical
                                         To be determined.                 To be determined.
     providers
     Plaintiff’s Expert(s)               To be determined.                 To be determined.


                                                        8
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 9 of 11




     Any other witness disclosed
                                 To be determined.                      To be determined.
     during discovery

         f.     Deadline for Interrogatories:

         The Parties shall serve all written interrogatories by October 18, 2024.

         g.     Deadline for Requests for Production of Documents and/or Admissions:

          The Parties shall serve all requests for production of documents and/or admission by

   November 22, 2024.

                           10. DATES FOR FURTHER CONFERENCES

         a.     Status Conferences will be held in this case at the following dates and times: None

                at this time. Future status conferences may be set at the request of the parties or the

                Court.

         b.     Counsel     shall      contact    Judge     Sweeney’s       chambers      by     email

                (Sweeney_Chambers@cod.uscourts.gov)             within twenty-four hours of the

                Scheduling Conference to obtain dates for a Final Pretrial Conference. A Trial

                Preparation Conference and trial date(s) will be given to the parties at the Final

                Pretrial Conference.

                                11. OTHER SCHEDULING MATTERS

         a.     Identify those discovery or scheduling issues, if any, on which counsel after a good

         faith effort, were unable to reach an agreement.

                None.

         b.     Anticipated length of trial and whether trial is to the court or jury.

                The Parties anticipate needing five (5) days to try this case to a jury.


                                                   9
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 10 of
                                     11




                            12. NOTICE TO COUNSEL AND PRO SE PARTIES

             The parties filing motions for extension of time or continuances must comply with

   D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving attorney's

   client.

             Counsel will be expected to be familiar and to comply with the Pretrial and Trial

   Procedures or Practice Standards established by the judicial officer presiding over the trial of this

   case.

             With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a)

   and Magistrate Judge Prose’s Discovery Dispute Hearing Procedures.

             Counsel and unrepresented parties are reminded that any change of contact information

   must be reported and filed with the Court pursuant to the applicable local rule.

                             13. AMENDMENTS TO SCHEDULING ORDER

             The Scheduling Order may be altered or amended only upon a showing of good cause.

   DATED at Denver, Colorado, this 1st day of April, 2024.

                                                         BY THE COURT:



                                                         Susan Prose
                                                         United States Magistrate Judge




                                                   10
Case No. 1:24-cv-00042-CNS-SBP Document 20 filed 04/01/24 USDC Colorado pg 11 of
                                     11




   APPROVED:


   /s/Anna N. Martinez                      /s/Elizabeth K. Olson
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   VEDRA LAW LLC                            Elizabeth K. Olson
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                                       11
